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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK
                                     (BROOKLYN)

   IN RE: EXACTECH POLYETHYLENE MDL No. 3044 (NGG) (MMH)
   ORTHOPEDIC PRODUCTS LIABILITY
   LITIGATION                    Case No.: 1:22-md-03044-NGG-MMH

                                                   District Judge Nicholas G. Garaufis
                                                   Magistrate Judge Marcia M. Henry
   ____________________________/

   THIS DOCUMENT RELATES TO:
   ALL CASES AGAINST TPG
   DEFENDANTS


       DECLARATION OF DAVID C. HARMAN IN SUPPORT OF PLAINTIFFS’
    RESPONSE IN OPPOSITION TO DEFENDANTS TPG INC.; OSTEON HOLDINGS,
    INC.; OSTEON MERGER SUB, INC. AND OSTEON INTERMEDIATE HOLDINGS
                       II, INC.’S MOTION TO DISMISS


         I, David C. Harman, declare and state as follows:

         1.     I am an attorney licensed to practice law in the State of Ohio. I am a shareholder

  with the law firm of Burg Simpson Eldredge Hersh & Jardine, P.C. Pursuant to Practice and

  Procedure Order No. 1, I am admitted pro hac vice by this Court. I have been appointed to serve

  as a member of the Plaintiffs’ Steering Committee in the above captioned matter. (Doc. 269.)

         2.     I submit this declaration in support of Plaintiffs’ Response in Opposition to

  Defendants TPG Inc., Osteon Holdings, Inc., Osteon Merger Sub, Inc., and Osteon Intermediate

  Holdings II, Inc.’s Motion to Dismiss.

         3.     Attached as Exhibit A is a list of cases that have been filed against the TPG

  Defendants that were not listed on the TPG Defendants’ Appendix B.

         4.     Attached as Exhibit B is a true and accurate copy of the transcript for the November

  16, 2022 Hearing.
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         5.      Attached as Exhibit C is a true and accurate copy of Exhibit 10.1 to the October 22,

  2017 8-K Report Exactech, Inc. filed with the SEC. This document is referenced in paragraph 95

  of the Master Complaint.

         6.      Attached as Exhibit D are true and accurate copies of the listings on the Delaware

  Secretary of State’s website for Osteon Holdings, Inc. and Osteon Intermediate Holdings II, Inc.

  Likewise, Exhibit D contains a true and accurate copy of Osteon Merger Sub, Inc.’s Articles of

  Incorporation which were filed with the Florida Secretary of State.

         7.      Attached as Exhibit E is a true and accurate copy of Exactech, Inc.’s Certificate of

  Liability Insurance. This document is referenced in paragraph 153 of the Master Complaint.

         8.      Attached as Exhibit F is a true and accurate copy of Plaintiff Mildred Drake’s Short

  Form Complaint.

         I declare under penalty of perjury that the foregoing is true and correct.

  Executed on: July 14, 2023



                                                 /s/ David C. Harman______
                                                 David C. Harman
